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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
v.                                           )       1:21-cr-00048
                                             )
SAMMIE LEE SIAS,                             )

                          DEFENDANT’S REQUESTS TO CHARGE

        COMES NOW Defendant Sammie Lee Sias, by and through his undersigned counsel,

pursuant to Fed. R. Crim. P. 30(a) and S.D. Ga. L. Cr. R. 30.1, and requests this Court to instruct

the jury on the law as specified in the following requests. Twenty-one of the 22 requested jury

instructions have the following headers (P1, B1, B2.1, B2.2, B3, B4, B5, B6.1, B6.3, S2.1, B7,

S12, B8, B8.1, B9.1A, O36, B10.2, S5, T3, B11, B12) which indicate that they were generated

using    the   Eleventh    Circuit’s    Pattern   Jury    Instruction   Builder    (available    at

https://pji.ca11.uscourts.gov). The one other instruction requested (D1) comes from outside the

Eleventh Circuit because there is not a Eleventh Circuit pattern instruction on the issue. Mr. Sias

requests that the Court first instruct the jury after they are seated and sworn in accordance with

Preliminary Instruction Number 1, with the remaining requests to be given in the appropriate order

at the close of the case. The relevant substance of the requested pattern instructions follow. Mr.

Sias also respectfully requests the right to supplement his Requests to Charge based upon the facts

that may develop at trial. United States v. Ruiz, 59 F.3d 1151, 1154–55 (11th Cir. 1995).

        Respectfully submitted this 19th day of July, 2022.

                                             /s/ Ken Crowder
                                             /s/ David Stewart
                                             CROWDER STEWART LLP
                                             Post Office Box 160
                                             Augusta, Georgia 30903
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                                              P1
                           Preliminary Instructions – Criminal Cases
Members of the Jury:

       Now that you have been sworn, I need to explain some basic principles about a criminal

trial and your duty as jurors. These are preliminary instructions. At the end of the trial I will give

you more detailed instructions.

Duty of jury:

       It will be your duty to decide what happened so you can determine whether the defendant

is guilty or not guilty of the crime charged in the indictment. At the end of the trial, I will explain

the law that you must follow to reach your verdict. You must follow the law as I explain it to you

even if you do not agree with the law.

What is evidence:

       You must decide the case solely on the evidence presented here in the courtroom. Evidence

can come in many forms. It can be testimony about what someone saw or heard or smelled. It can

be an exhibit admitted into evidence. It can be someone’s opinion. Some evidence proves a fact

indirectly, such as a witness who saw wet grass outside and people walking into the courthouse

carrying wet umbrellas. Indirect evidence, sometimes called circumstantial evidence, is simply a

chain of circumstances that proves a fact. As far as the law is concerned, it makes no difference

whether evidence is direct or indirect. You may choose to believe or disbelieve either kind and

should give every piece of evidence whatever weight you think it deserves.

What is not evidence:

       Certain things are not evidence and must not be considered. I will list them for you now:

       • Statements and arguments of the lawyers. In their opening statements and closing
         arguments, the lawyers will discuss the case, but their remarks are not evidence;
       • Questions and objections of the lawyers. The lawyers’ questions are not evidence.
         Only the witnesses’ answers are evidence. You should not think that something
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        is true just because a lawyer’s question suggests that it is. For instance, if a lawyer
        asks a witness, “you saw the defendant hit his sister, didn’t you?” – that question
        is no evidence whatsoever of what the witness saw or what the defendant did,
        unless the witness agrees with it.
       There are rules of evidence that control what can be received into evidence. When a lawyer

asks a question or offers an exhibit and a lawyer on the other side thinks that it is not permitted by

the rules of evidence, that lawyer may object. If I overrule the objection, then the question may be

answered or the exhibit received. If I sustain the objection, then the question cannot be answered,

and the exhibit cannot be received. Whenever I sustain an objection to a question, you must ignore

the question and not try to guess what the answer would have been.

       Sometimes I may order that evidence be stricken and that you disregard or ignore the

evidence. That means that when you are deciding the case, you must not consider that evidence.

       Some evidence is admitted only for a limited purpose. When I instruct you that an item of

evidence has been admitted for a limited purpose, you must consider it only for that limited

purpose and no other.

Credibility of witnesses:

       In reaching your verdict, you may have to decide what testimony to believe and what

testimony not to believe. You may believe everything a witness says, or part of it, or none of it. In

considering the testimony of any witness, you may take into account:

       • The opportunity and ability of the witness to see or hear or know the things
         testified to;
       • The witness’s memory;
       • The witness’s manner while testifying;
       • The witness’s interest in the outcome of the case and any bias or prejudice;
       • Whether other evidence contradicted the witness’s testimony;
       • The reasonableness of the witness’s testimony in light of all the evidence; and
       • Any other factors that bear on believability.
       I will give you additional guidelines for determining credibility of witnesses at the

end of the case.
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Rules for criminal cases:

        As you know, this is a criminal case. There are three basic rules about a criminal case that

you must keep in mind.

        First, the defendant is presumed innocent until proven guilty. The indictment against the

defendant brought by the government is only an accusation, nothing more. It is not proof of guilt

or anything else. The defendant therefore starts out with a clean slate.

        Second, the burden of proof is on the government until the very end of the case. The

defendant has no burden to prove his innocence or to present any evidence, or to testify. Since the

defendant has the right to remain silent and may choose whether to testify, you cannot legally put

any weight on a defendant’s choice not to testify. It is not evidence.

        Third, the government must prove the defendant’s guilt beyond a reasonable doubt. I will

give you further instructions on this point later, but bear in mind that the level of proof required is

high.

Conduct of the jury:

        Our law requires jurors to follow certain instructions regarding their personal conduct in

order to help assure a just and fair trial. I will now give you those instructions:

        1. Do not talk, either among yourselves or with anyone else, about anything related
        to the case. You may tell the people with whom you live and your employer that
        you are a juror and give them information about when you will be required to be in
        court, but you may not discuss with them or anyone else anything related to the
        case.
        2. Do not, at any time during the trial, request, accept, agree to accept, or discuss
        with any person, any type of payment or benefit in return for supplying any
        information about the trial.
        3. You must promptly tell me about any incident you know of involving an attempt
             by any person to improperly influence you or any member of the jury.
        4. Do not visit or view the premises or place where the charged crime was allegedly
        committed, or any other premises or place involved in the case. And you must not
        use Internet maps or Google Earth or any other program or device to search for a
        view of any location discussed in the testimony.
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       5. Do not read, watch, or listen to any accounts or discussions related to the case
       which may be reported by newspapers, television, radio, the Internet, or any other
       news media.
       6. Do not attempt to research any fact, issue, or law related to this case, whether by
       discussions with others, by library or Internet research, or by any other means or
       source.
       In this age of instant electronic communication and research, I want to emphasize that in

addition to not talking face to face with anyone about the case, you must not communicate with

anyone about the case by any other means, including by telephone, text messages, email, Internet

chat, chat rooms, blogs, or social-networking websites and apps such as Facebook, Instagram,

Snapchat, YouTube, or Twitter. You may not use any similar technology of social media, even if

I have not specifically mentioned it here.

       You must not provide any information about the case to anyone by any means whatsoever,

and that includes posting information about the case, or what you are doing in the case, on any

device or Internet site, including blogs, chat rooms, social websites, or any other means.

       You also must not use Google or otherwise search for any information about the case, or

the law that applies to the case, or the people involved in the case, including the defendant, the

witnesses, the lawyers, or the judge. It is important that you understand why these rules exist and

why they are so important:

       Our law does not permit jurors to talk with anyone else about the case, or to permit anyone

to talk to them about the case, because only jurors are authorized to render a verdict. Only you

have been found to be fair and only you have promised to be fair – no one else is so qualified.

       Our law also does not permit jurors to talk among themselves about the case until the court

tells them to begin deliberations, because premature discussions can lead to a premature final

decision.
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         Our law also does not permit you to visit a place discussed in the testimony. First, you

can’t be sure that the place is in the same condition as it was on the day in question. Second, even

if it were in the same condition, once you go to a place discussed in the testimony to evaluate the

evidence in light of what you see, you become a witness, not a juror. As a witness, you may now

have a mistaken view of the scene that neither party may have a chance to correct. That is not fair.

         Finally, our law requires that you not read or listen to any news accounts of the case, and

that you not attempt to research any fact, issue, or law related to the case. Your decision must be

based solely on the testimony and other evidence presented in this courtroom. Also, the law often

uses words and phrases in special ways, so it’s important that any definitions you hear come only

from me, and not from any other source. It wouldn’t be fair to the parties for you to base your

decision on some reporter’s view or opinion, or upon other information you acquire outside the

courtroom.

         These rules are designed to help guarantee a fair trial, and our law accordingly sets forth

serious consequences if the rules are not followed. I trust that you understand and appreciate the

importance of following these rules, and in accord with your oath and promise, I know you will

do so.

Taking notes:

         Moving on now, if you wish, you may take notes to help you remember what witnesses

said. If you do take notes, please keep them to yourself until you and your fellow jurors go to the

jury room to decide the case. Do not let note-taking distract you so that you do not hear other

answers by witnesses. When you leave the courtroom, your notes should be left in the jury room.

Whether or not you take notes, you should rely on your own memory of what was said. Notes are
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to assist your memory only. They are not entitled to any greater weight than your memory or

impression about the testimony.

Course of the trial:

        The trial will now begin. First, the government will make an opening statement, which is

simply an outline to help you understand the evidence as it comes in. Next, the defendant’s

attorney may, but does not have to, make an opening statement. Opening statements are neither

evidence nor argument.

        The government will then present its witnesses, and counsel for the defendant may cross-

examine them. Following the government’s case, the defendant may, if he wishes, present

witnesses whom the government may cross-examine. After all the evidence is in, the attorneys

will present their closing arguments to summarize and interpret the evidence for you, and I will

instruct you on the law. After that, you will go to the jury room to decide your verdict.
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                                               B1
                                     Face Page - Introduction

                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
v.                                           )      1:21-cr-00048
                                             )
SAMMIE LEE SIAS,                             )

                                     COURT’S INSTRUCTIONS
                                         TO THE JURY

Members of the Jury:

       It’s my duty to instruct you on the rules of law that you must use in deciding this case.

After I’ve completed these instructions, you will go to the jury room and begin your discussions

– what we call your deliberations.

       You must decide whether the Government has proved the specific facts necessary to find

the Defendant guilty beyond a reasonable doubt.
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                                           B2.1
             The Duty to Follow Instructions And the Presumption of Innocence

       Your decision must be based only on the evidence presented here. You must not be

influenced in any way by either sympathy for or prejudice against the Defendant or the

Government.

       You must follow the law as I explain it – even if you do not agree with the law – and you

must follow all of my instructions as a whole. You must not single out or disregard any of the

Court's instructions on the law.

       The indictment or formal charge against a defendant isn’t evidence of guilt. The law

presumes every defendant is innocent. The Defendant does not have to prove his innocence or

produce any evidence at all. The Government must prove guilt beyond a reasonable doubt. If it

fails to do so, you must find the Defendant not guilty.
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                                          B2.2
        The Duty to Follow Instructions and the Presumption Of Innocence When a
                               Defendant Does Not Testify

       Your decision must be based only on the evidence presented during the trial. You must not

be influenced in any way by either sympathy for or prejudice against the Defendant or the

Government.

       You must follow the law as I explain it – even if you do not agree with the law – and you

must follow all of my instructions as a whole. You must not single out or disregard any of the

Court's instructions on the law.

       The indictment or formal charge against a Defendant isn’t evidence of guilt. The law

presumes every Defendant is innocent. The Defendant does not have to prove his innocence or

produce any evidence at all. A Defendant does not have to testify, and if the Defendant chose not

to testify, you cannot consider that in any way while making your decision. The Government must

prove guilt beyond a reasonable doubt. If it fails to do so, you must find the Defendant not guilty.
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                                               B3
                               Definition of “Reasonable Doubt”

       The Government's burden of proof is heavy, but it doesn’t have to prove a Defendant's

guilt beyond all possible doubt. The Government's proof only has to exclude any “reasonable

doubt” concerning the Defendant's guilt.

       A “reasonable doubt” is a real doubt, based on your reason and common sense after you’ve

carefully and impartially considered all the evidence in the case.

       “Proof beyond a reasonable doubt” is proof so convincing that you would be willing to

rely and act on it without hesitation in the most important of your own affairs. If you are convinced

that the Defendant has been proved guilty beyond a reasonable doubt, say so. If you are not

convinced, say so.
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                                             B4
                    Consideration of Direct and Circumstantial Evidence;
                       Argument of Counsel; Comments by the Court

       As I said before, you must consider only the evidence that I have admitted in the case.

Evidence includes the testimony of witnesses and the exhibits admitted. But, anything the lawyers

say is not evidence and isn’t binding on you.

       You shouldn’t assume from anything I’ve said that I have any opinion about any factual

issue in this case. Except for my instructions to you on the law, you should disregard anything I

may have said during the trial in arriving at your own decision about the facts.

       Your own recollection and interpretation of the evidence is what matters.

       In considering the evidence you may use reasoning and common sense to make deductions

and reach conclusions. You shouldn’t be concerned about whether the evidence is direct or

circumstantial.

       “Direct evidence” is the testimony of a person who asserts that he or she has actual

knowledge of a fact, such as an eyewitness.

       “Circumstantial evidence” is proof of a chain of facts and circumstances that tend to prove

or disprove a fact. There’s no legal difference in the weight you may give to either direct or

circumstantial evidence.
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                                               B5
                                    Credibility of Witnesses

       When I say you must consider all the evidence, I don’t mean that you must accept all the

evidence as true or accurate. You should decide whether you believe what each witness had to say,

and how important that testimony was. In making that decision you may believe or disbelieve any

witness, in whole or in part. The number of witnesses testifying concerning a particular point

doesn’t necessarily matter.

       To decide whether you believe any witness I suggest that you ask yourself a few questions:

       •   Did the witness impress you as one who was telling the truth?

       •   Did the witness have any particular reason not to tell the truth?

       •   Did the witness have a personal interest in the outcome of the case?

       •   Did the witness seem to have a good memory?

       •   Did the witness have the opportunity and ability to accurately observe the
           things he or she testified about?

       •   Did the witness appear to understand the questions clearly and answer them
           directly?

       •   Did the witness's testimony differ from other testimony or other evidence?
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                                          B6.1
                Impeachment of Witnesses Because of Inconsistent Statements

       You should also ask yourself whether there was evidence that a witness testified falsely

about an important fact. And ask whether there was evidence that at some other time a witness

said or did something, or didn’t say or do something, that was different from the testimony the

witness gave during this trial.

       But keep in mind that a simple mistake doesn’t mean a witness wasn’t telling the truth as

he or she remembers it. People naturally tend to forget some things or remember them

inaccurately. So, if a witness misstated something, you must decide whether it was because of an

innocent lapse in memory or an intentional deception. The significance of your decision may

depend on whether the misstatement is about an important fact or about an unimportant detail.
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                                        B6.3
      Impeachment of Witnesses Because of Inconsistent Statements (Defendant with
                           No Felony Conviction Testifies)

       You should also ask yourself whether there was evidence that a witness testified falsely

about an important fact. And ask whether there was evidence that at some other time a witness

said or did something, or didn’t say or do something, that was different from the testimony the

witness gave during this trial.

       But keep in mind that a simple mistake doesn’t mean a witness wasn’t telling the truth as

he or she remembers it. People naturally tend to forget some things or remember them

inaccurately. So, if a witness misstated something, you must decide whether it was because of an

innocent lapse in memory or an intentional deception. The significance of your decision may

depend on whether the misstatement is about an important fact or about an unimportant detail.

       A defendant has a right not to testify. But since the Defendant did testify, you should decide

whether you believe the Defendant’s testimony in the same way as that of any other witness.
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                                             S2.1
                         Confession or Statement of a Single Defendant

         If the Government offers evidence that a Defendant made a statement or admission to

someone after being arrested or detained, you must consider that evidence with caution and great

care.

         You must decide for yourself (1) whether the Defendant made the statement, and (2) if so,

how much weight to give to it. To make these decisions, you must consider all the evidence about

the statement – including the circumstances under which it was made.
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                                               B7
                                          Expert Witness

       When scientific, technical or other specialized knowledge might be helpful, a person who

has special training or experience in that field is allowed to state an opinion about the matter.

       But that doesn’t mean you must accept the witness’s opinion. As with any other witness’s

testimony, you must decide for yourself whether to rely upon the opinion.
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                                            S12
                                     Character Evidence

       Evidence of a defendant’s character traits may create a reasonable doubt.

       You should consider testimony that a defendant is an honest and law-abiding citizen along

with all the other evidence to decide whether the Government has proved beyond a reasonable

doubt that the Defendant committed the offense.
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                                             B8
                             Introduction to Offense Instructions

       The indictment charges two separate crimes, called “counts,” against the Defendant. Each

count has a number. You’ll be given a copy of the indictment to refer to during your deliberations.

       Count One charges that the Defendant destroyed records in a federal investigation. Counts

Two charges that the Defendant made a false statement to a federal agency. I will explain the law

governing these offenses in a moment.
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                                                B8.1

                                  Conjunctively Charged Counts

       Where a statute specifies multiple alternative ways in which an offense may be committed,

the indictment may allege the multiple ways in the conjunctive, that is, by using the word “and.”

If only one of the alternatives is proved beyond a reasonable doubt, that is sufficient for conviction,

so long as you agree unanimously as to that alternative.
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                                          B9.1A
                        On or About; Knowingly; Willfully – Generally

       You’ll see that the indictment charges that a crime was committed “on or about” a certain

date. The Government doesn’t have to prove that the crime occurred on an exact date. The

Government only has to prove beyond a reasonable doubt that the crime was committed on a date

reasonably close to the date alleged.

       The word “knowingly” means that an act was done voluntarily and intentionally and not

because of a mistake or by accident.

       The word “willfully” means that the act was committed voluntarily and purposely, with

the intent to do something the law forbids; that is, with the bad purpose to disobey or disregard the

law. While a person must have acted with the intent to do something the law forbids before you

can find that the person acted “willfully,” the person need not be aware of the specific law or rule

that his conduct may be violating.
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                                               D1
                 Destruction or Alteration of Records in a Federal Investigation
                                        18 U.S.C. § 1519

       It’s a Federal crime to knowingly alter, destroy, mutilate, conceal, or cover up records or

documents, with the intent to impede, obstruct, and influence the investigation, or proper

administration, of a matter within the jurisdiction of a department or agency of the United States.

       For you to find the defendant guilty of this crime, you must be convinced that the

government has proved each of the following beyond a reasonable doubt:

       First: That the defendant knowingly altered, destroyed, mutilated, concealed, or covered

up a record or document;

       Second: That the defendant acted with the intent to impede, obstruct, or influence the

investigation or the proper administration of a federal criminal grand jury investigation; and

       Third: That the matter was within the jurisdiction of an agency and department of the

United States.
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                                                O36
                                False Statement to a Federal Agency
                                          18 U.S.C. § 1001

       It’s a Federal crime to willfully make a false or fraudulent statement to a department or

agency of the United States.

       The Defendant can be found guilty of this crime only if all the following facts are proved

beyond a reasonable doubt:

       (1) the Defendant made the statement, as charged;

       (2) the statement was false;

       (3) the falsity concerned a material matter;

       (4) the Defendant acted willfully, knowing that the statement was false; and

       (5) the false statement was made or used for a matter within the jurisdiction of a
            department or agency of the United States.

       A statement is “false” when made if it is untrue when made and the person making it knows

it is untrue. The Government doesn’t have to show that the Governmental agency or department

was, in fact, deceived or misled.

       The making of a false statement is not a crime unless the falsity relates to a “material” fact.

       A “material fact” is an important fact – not some unimportant or trivial detail – that has a

natural tendency to influence or is capable of influencing a decision of a department or agency in

reaching a required decision.
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                                             B10.2
                                      Caution: Punishment
                              (Single Defendant, Multiple Counts)

       Each count of the indictment charges a separate crime. You must consider each crime and

the evidence relating to it separately. If you find the Defendant guilty or not guilty of one crime,

that must not affect your verdict for any other crime.

       I caution you that the Defendant is on trial only for the specific crimes charged in the

indictment. You’re here to determine from the evidence in this case whether the Defendant is

guilty or not guilty of those specific crimes.

       You must never consider punishment in any way to decide whether the Defendant is guilty.

If you find the Defendant guilty, the punishment is for the Judge alone to decide later.
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                                                S5
                                            Note-taking

       You’ve been permitted to take notes during the trial. Most of you – perhaps all of you –

have taken advantage of that opportunity.

       You must use your notes only as a memory aid during deliberations. You must not give

your notes priority over your independent recollection of the evidence. And you must not allow

yourself to be unduly influenced by the notes of other jurors.

       I emphasize that notes are not entitled to any greater weight than your memories or

impressions about the testimony.
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                                              T3
                                    Explanatory Instruction
                           Transcript of Tape Recorded Conversation

Members of the Jury: Exhibit _____ has been identified as a typewritten transcript of the oral

conversation heard on the tape recording received in evidence as Exhibit _____. The transcript

also purports to identify the speakers engaged in the conversation.

        I’ve admitted the transcript for the limited and secondary purpose of helping you follow

the content of the conversation as you listen to the tape recording.

        But you are specifically instructed that whether the transcript correctly reflects the content

of the conversation or the identity of the speakers is entirely for you to decide based on your own

evaluation of the testimony you have heard about the preparation of the transcript, and from your

own examination of the transcript in relation to hearing the tape recording itself as the primary

evidence of its own contents.

        If you determine that the transcript is in any respect incorrect or unreliable, you should

disregard it to that extent.
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                                               B11
                                        Duty to Deliberate

       Your verdict, whether guilty or not guilty, must be unanimous – in other words, you must

all agree. Your deliberations are secret, and you’ll never have to explain your verdict to anyone.

       Each of you must decide the case for yourself, but only after fully considering the evidence

with the other jurors. So you must discuss the case with one another and try to reach an agreement.

While you’re discussing the case, don’t hesitate to reexamine your own opinion and change your

mind if you become convinced that you were wrong. But don’t give up your honest beliefs just

because others think differently or because you simply want to get the case over with.

       Remember that, in a very real way, you’re judges – judges of the facts. Your only interest

is to seek the truth from the evidence in the case.
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                                              B12
                                             Verdict

       When you get to the jury room, choose one of your members to act as foreperson. The

foreperson will direct your deliberations and will speak for you in court.

       A verdict form has been prepared for your convenience.

                                         [Explain verdict]

       Take the verdict form with you to the jury room. When you’ve all agreed on the verdict,

your foreperson must fill in the form, sign it, date it, and carry it. Then you’ll return it to the

courtroom.

       If you wish to communicate with me at any time, please write down your message or

question and give it to the marshal. The marshal will bring it to me and I’ll respond as promptly

as possible – either in writing or by talking to you in the courtroom. But I caution you not to tell

me how many jurors have voted one way or the other at that time.
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                                   CERTIFICATE OF SERVICE

        The undersigned certifies that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a result of

electronic filing in this court.

        This 19th day of July, 2022.

                                            /s/ David M. Stewart
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                                            Post Office Box 160
                                            Augusta, Georgia 30903
                                            706.434.8799
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